AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                   __________        of New
                                                               District      York
                                                                         of __________

 Angel Ayala, individually and on behalf of all others              )
                      situated,                                     )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
  BL 62 West 9th St, LLC d/b/a Casa Apicii, BL 62                   )
   West 9th Management, LLC, Apicii, LLC, Apicii                    )
 Advisors, LLC, Apicii Management, LLC, Thomas A.                   )
            Dillon, and Bernard Schwartz,                           )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BL 62 West 9th St, LLC d/b/a Casa Apicii
                                           62 W 9th St
                                           New York, NY 10011




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Steven John Moser
                                           Moser Law Firm, PC
                                           5 East Main Street
                                           Huntington, NY 11743
                                           steven.moser@moserlawfirm.com
                                           631-824-0200

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:       7/9/2020                                                               /s/ J. Gonzalez
                                                                                         Signature of Clerk or Deputy Clerk
